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Pictures and Television, Walt Disney Television Animation, Walt Disney Animation Studios, Disney
Enterprises, Inc., Buena Vista Home Entertainment, Inc., Mandeville Films, Inc., Jenny Marchick, Case
No. 2:25-cv-00273-MRA-AS (C.D. Cal.) (hereinafter, the “Second Action”).

         Fed. R. Civ. P. 42 provides:

                If actions before the court involve a common question of law or fact, the court may:
                (1) join for hearing or trial any or all matters at issue in the actions;
                (2) consolidate the actions; or
                (3) issue any other orders to avoid unnecessary cost or delay.

In determining whether to exercise its discretion to consolidate cases under Rule 42, the Court “should
considers (1) the risk of delaying trial, (2) the risk of prejudice and confusion, and (3) the potential
burden on the parties, witnesses, and available judicial resources. Prime Media Grp., LLC v. Acer Am.
Corp., 2015 WL 12979102, at *2 (N.D. Cal. May 26, 2015). Here, the date for dispositive motions has
passed, discovery has closed, and trial in this action is set for February 25, 2025, whereas the Second
Action is at its initial stages, no defendants have appeared, no proof of service of the summons and
complaint has been filed, and no dates have been set in the Second Action. Therefore, consolidation
would not serve the interests of judicial economy based on the significantly different procedural stages
between the two cases. Larson v. Nanos, 2016 WL 4942079, at *1 (D. Ariz. Apr. 8, 2016). Moreover,
consolidation would significantly delay the trial in this action.2 Furthermore, consolidation on the eve
of trial would burden the Court, Defendant and witnesses who have prepared for the February 25, 2025
trial. Consolidation would also prejudice Defendant by delaying resolution of this case which has been
pending since 2020. See Prime Media Grp., LLC, 2015 WL 12979102, at *2 (denying motion to
consolidate where second action was at the pleading stage, reasoning consolidation would delay trial the
earlier action, “would further burden the parties and the Court, and would harm the speedy resolution of
this case”); Johnson Safety, Inc. v. Voxx Int’l Corp., 2017 WL 1407634, at *2 (C.D. Cal. Apr. 17, 2017)
(denying motion to consolidate filed on the eve of trial, finding benefits of consolidation would be
“minimal” whereas “the burden and delay would be great: the case at bar is on the eve of trial, and the
parties have not alerted the Court to any reason they will not be ready for trial next month”); Stiles v.
Walmart, Inc., 2023 WL 2575792, at *1 (E.D. Cal. Mar. 20, 2023) (denying motion to consolidate filed
“at the eleventh hour, on the eve of these key pretrial dates and deadlines” and less than 3 months before
trial, finding “the court’s granting of such request would necessarily cause substantial delay in the trial”
in a case that had been pending for years). Moreover, consolidation would risk confusion since the
remaining issue to be tried in this action is Plaintiff’s claim for copyright infringement based on
distribution of Moana by Defendant BVHE after April 24, 2017, whereas the Second Action asserts
copyright infringement against numerous other defendants based on Moana and Moana 2.3

        Plaintiff also cites to the “first-to-file rule” which he contends permits the court “to transfer, stay,
or dismiss an action before it when a similar action has already been filed in another federal court.” It
is unclear how the first-to-file rule is relevant to the instant Motion to consolidate. Plaintiff’s Second
Action was filed in the same court as the instant action and therefore no transfer would be necessary.

2
  Plaintiff contends consolidation would cause an approximate “3 to 4-month delay of the currently
scheduled trial” for the parties to conduct additional discovery for the Second Action. However,
Plaintiff does not take into account motion practice that would be filed in connection with the Second
Action, which would likely result in a longer delay.
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  No notice of related cases has been filed in the Second Action as required under L.R. 83-1.3.


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Moreover, Plaintiff does not request a stay or dismissal of the Second Action.

        Accordingly, Plaintiff’s Motion to Consolidate is DENIED. Having denied the motion to
consolidate, Plaintiff’s Motion to continue trial in this action so that there can be a “single trial” for both
actions is DENIED.

         IT IS SO ORDERED.




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